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                   IN THE UNITED STATES DISTRICT COURT FOR
                    THE EASTERN DISTRICT OF PENNSYLVANIA


UNITED STATES OF AMERICA ex rel.
ELLSWORTH ASSOCIATES, LLP,

                      Plaintiff-Relator,           Case No.: 2:19-cv-02553-JMY

         v.

CVS HEALTH CORPORATION, et al.,

                      Defendants.


                                    [PROPOSED] ORDER

         AND NOW, upon consideration of the Defendants’ Motion to Amend the Court’s Order

Unsealing the Second Amended Complaint, and the parties’ arguments related to the motion, it

is hereby ORDERED that Defendants’ Motion is                      .

         It is hereby ORDERED that Relator’s Cross Motion that the Court Set a Rule 16

Conference is                .

         IT IS SO ORDERED.



Dated:
                                                 John M. Younge
                                                 UNITED STATES DISTRICT JUDGE




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